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                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.   07-10221-06-MLB
                                             )
RICKY HENRY,                                 )
                                             )
                         Defendant.          )
                                             )

                              MEMORANDUM AND ORDER
       This case comes before the court on the government’s motion for
reconsideration.       (Doc. 128).     On May 16, 2008 this court granted
defendant’s motion to suppress all evidence seized pursuant to a
search warrant.      (Doc. 122).      The government does not challenge the
court’s ruling that the facts set forth in the affidavit do not
establish probable cause to search the residence.                       Instead, the
government asserts that the court misapplied the Leon exception.
       The court stated the following when it considered the Leon
exception:
            The Supreme Court recognizes four situations in which
       an officer would not have reasonable grounds for believing
       a warrant was properly issued. In these situations, the
       good-faith exception to the exclusionary rule would not
       apply.
             First, evidence should be suppressed if the
             issuing magistrate was misled by an affidavit
             containing false information or information that
             the affiant would have known was false if not for
             his “reckless disregard of the truth.” Second,
             the exception does not apply when the “issuing
             magistrate wholly abandon[s her] judicial role.”
             Third, the good-faith exception does not apply
             when the affidavit in support of the warrant is
             “so lacking in indicia of probable cause as to
             render official belief in its existence entirely
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            unreasonable.” Fourth, the exception does not
            apply when a warrant is so facially deficient
            that the executing officer could not reasonably
            believe it was valid.
     United States v. Danhauer, 229 F.3d 1002, 1007 (10th Cir.
     2000) (citing throughout United States v. Leon, 468 U.S.
     897 (1984)).   Defendant relies on the third and fourth
     factors.
           This court has had little or no occasion to apply Leon
     to searches because the warrants issued by its magistrate
     judges are rarely, if ever, deficient. In this isolated
     case, however, the warrant is deficient and there is no
     evidence from the executing officer(s) regarding whether he
     reviewed the application and the warrant, thereby forcing
     the court to assume facts not in evidence, i.e. that the
     officer reasonably believed the warrant to be valid and
     why. This is an assumption the court is not prepared to
     make.    Moreover, when the government relies on Leon, it
     should present evidence to support its application.
(Doc. 122 at 5-6).
      The   government      argues   that    an   officer’s   testimony     is   not
required and that the court need not receive evidence of the officer’s
subjective good faith. (Doc 128 at 2-4). The court did not rule that
the government is required to present evidence of an officer’s
“subjective good faith” or, for that matter, that subjective good
faith is even relevant to a determination of a Leon exception.               While
the court concedes that its ruling could have been clearer, the
court’s point was, and is, that this is one of those rare instances
when the application for the warrant lacks indicia of probable cause
(the third Leon situation).
      As the court explained it its prior order, there was no evidence
at all connecting the phone calls to 1111 N. Pershing and no evidence
that a drug transaction occurred at 1111 N. Pershing.               The affidavit
did not even establish who resided at 1111 N. Pershing. The affidavit
only confirmed that a suspected drug dealer stopped at the house on

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two separate occasions, but did not enter the house.               Those facts are
not sufficient to establish probable cause for a search warrant and
the court should have made it clearer that it was suppressing the
search on the basis of the government’s failure to establish Leon’s
third situation was not applicable in this case.
         In its response to defendant’s motion, the government appeared
to    assert   that   the     Leon   exception   applied       because    the   facts
established that the officers acted in good faith and with reasonable
reliance.      (Doc. 121 at 4-6).       The government did not specifically
address the four situations in which the Leon exception does not apply
even though defendant asserted in his memoranda that he was seeking
suppression based on both the third and fourth situations set forth
in Leon.     While the court did not find, one way or another, that the
government had failed to establish that Leon’s fourth situation was
not applicable, its statement regarding evidence was directed at the
fourth Leon situation.          Contrary to the government’s argument on
reconsideration, there are occasions when the government must offer
evidence to meet its burden to show an officer’s “reasonable belief.”
“[T]he government, not the defendant, bears the burden of proving that
its agents' reliance upon the warrant was objectively reasonable.”
United States v. Beck, No. 04-4210, 2005 WL 1649310, *4 (10th Cir.
July 14, 2005)(quoting United States v. Cook, 854 F.2d 371, 373 (10th
Cir. 1988)).        In United States v. Tuter, a case cited by the
government (Doc. 128 at 2), the agent testified regarding his belief
that he possessed probable cause. 240 F.3d 1292, 1299-1300 (10th Cir.
2001).      Thus, there are times where the government must produce
evidence to satisfy its burden under Leon.

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         The government’s motion for reconsideration is denied.            (Doc.
128).
        IT IS SO ORDERED.
        Dated this   22nd    day of May 2008, at Wichita, Kansas.


                                           s/ Monti Belot
                                           Monti L. Belot
                                           UNITED STATES DISTRICT JUDGE




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